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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 12-20071-CR-SEITZ


  UNITED STATES OF AMERICA

  v.

  FRANCISCO CUBERO,

                 Defendant.
                                          /


          UNITED STATES’S RESPONSE IN OPPOSITION TO DEFENDANT’S
          OBJECTIONS TO THE PSI AND REQUEST FOR A VARIANCE FROM
                       THE SENTENCING GUIDELINES

         Pursuant to Title 18, United States Code, Section 3553(a), the United States of America,

  by and through the undersigned Assistant United States Attorney, hereby files this Sentencing

  Memorandum, in opposition to Defendant’s Objections to the PSI and Request for a Downward

  Variance from the sentencing guideline range (see Docket Entry (“D.E.”) 36 and Defendant’s

  Sentencing Memorandum (filed under seal)), and states the following in support thereof:

                                        INTRODUCTION

         The Defendant objects to the Presentence Investigation Report (“PSI”) on several

  grounds. First, he objects to a two-level increase for “distribution” under Section 2G2.2(b)(3)(F)

  of the Sentencing Guidelines Manual (hereinafter, the “Sentencing Guidelines”), arguing that (a)

  he did not know he was disseminating child pornography by using peer-to-peer file sharing

  networks and (b) this enhancement is tantamount to double-counting. Second, he requests a two-

  level decrease under Section 2G2.2(b)(1) of the Sentencing Guidelines, arguing that because he

  did not intend to distribute child pornography, this reduction applies. As explained further
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  below, the Defendant is misguided. The Eleventh Circuit has held that “[b]y doing nothing to

  protect the [downloaded child pornography] images and allowing them to remain in a shared

  folder, [a defendant] distributed the images within the meaning of Section 2G2.2(b)(3)(F).” See,

  e.g., United States v. Nelson, 2011 WL 4584788, 442 Fed. Appx. 496, 498 (11th Cir. Oct. 5,

  2011). Therefore, the PSI has properly calculated the Defendant’s total offense level (as a level

  34).

         In addition, the Defendant requests a downward variance from the sentencing guideline

  range. The sentencing guideline range that the Defendant faces for pleading guilty to possession

  and distribution of child pornography is 151 to 188 months imprisonment. The United States

  objects to the Defendant’s request for a variance and argues that a sentence at the low-end of the

  sentencing guideline range, given the factors outlined in Section 3553(a), would be fair and just

  if imposed. A downward variance, on the other hand, is inappropriate because of the graphic

  nature and content of the child pornography material possessed, the characteristics of the

  defendant, the grave need for general and specific deterrence in this case, and the impact that the

  sentencing will have on the public and victims of child pornography.

                                    FACTUAL BACKGROUND

     •   Investigation

         On December 16, 2011, law enforcement, using investigative software, identified a user

  on a P2P file-sharing network who had been recently making files containing SHA-1 values

  associated with suspected images of child pornography available for distribution on the network.

  Law enforcement was able to identify the IP Address associated with that user as 77.74.155.54

  (hereinafter the “IP Address”).




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         On December 17, 2011, law enforcement officers, utilizing P2P software on an

  undercover computer, successfully established an Internet connection with a computer assigned

  to the IP Address. Once establishing that connection, law enforcement downloaded eighteen

  (18) images files that had been made available for sharing from that computer.

         Thereafter, law enforcement reviewed the contents and titles of the eighteen (18) image

  files downloaded on December 17, 2011, from the user utilizing the IP Address. The file titles

  for the eighteen (18) image files suggested that the files contained child pornography and some

  of the titles included phrases like “childlover”, “pthc” (preteen hardcore), “pedo”, and

  “childporn”. Law enforcement reviewed the contents of the eighteen (18) image files and

  observed suspected child pornography in seventeen (17) of the image files as detailed below:

                ·   File titled pictures from ranchi torpedo dloaded in 2009- pedo kdv kidzilla
                    pthc toddlers 0yo 1yo 2yo 3yo 4yo 5yo 6yo 9yo tara babyj (58).jpg, which
                    contains an image depicting a naked preteen female laying on a bed with her
                    legs spread exposing her genitals.

                ·   File titled Aaaa Preteen Boys Clubomega Kids Boy Little Illegal Pedo
                    Young Gay Teen Innocent Child 31.jpg, which contains an image file
                    depicting three (3) naked preteen / teenage boys laying on their stomachs in a
                    pile of dirt and exposing their buttocks.

                ·   File titled pictures from ranchi torpedo dloaded in 2009- pedo kdv kidzilla
                    pthc toddlers 0yo 1yo 2yo 3yo 4yo 5yo 6yo 9yo tara babyj (48).jpg, which
                    contains an image file depicting a preteen female performing oral sex on an
                    adult male.

                ·   File titled la2-023-063 - 12yr old underage child daughter childsex
                    childlover ptsc pthc lsm lsn pedo cum ass pussy hussyfan mafiasex
                    r@ygold sandra lolita preteen model bd ls land.jpg, which contains an
                    image file depicting a naked minor female sitting with her legs crossed
                    exposing her genitals.

                ·   File titled aaaa boylove gay pedo preteen boy sex child porn 218 (2).jpg,
                    which contains an image file depicting a preteen male engaging in anal sex
                    with an adult male.




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              ·   File titled (pthc pedo preteen) HQ XXX Porn Pics - 107.jpg, which contains
                  an image file depicting a naked minor female in a river with her legs open and
                  her genitals exposed.

              ·   File titled PTHC Pedo NEW Childporn Private Daughter Torpedo Ranchi
                  Lolita - Veronica_1173907670997.jpg, which contains an image file
                  depicting two naked preteen females sitting on a couch. Both preteen females
                  have their legs spread and are exposing their genitals.

              ·   File titled PTHC Pedo NEW Childporn Private Daughter Torpedo Ranchi
                  Lolita - Veronica_0006.jpg, which contains an image file depicting two
                  naked preteen females sitting on a couch. One of the females has her legs
                  spread and is exposing her genitals.

              ·   File titled pictures from ranchi torpedo dloaded in 2009- pedo kdv kidzilla
                  pthc toddlers 0yo 1yo 2yo 3yo 4yo 5yo 6yo 9yo tara babyj (233).jpg, which
                  contains an image file depicting a naked preteen female laying on a bed with
                  her legs spread and exposing her genitals.

              ·   File titled PTHC Pedo NEW Childporn Private Daughter Torpedo Ranchi
                  Lolita - 1262416126082.jpg, which contains an image file depicting a naked
                  preteen / minor female lying on a bed and exposing her genitals.

              ·   File titled PTHC Pedo NEW Childporn Private Daughter Torpedo Ranchi
                  Lolita - 128578484341.jpg, which contains an image file depicting a naked
                  preteen female who is sitting on the floor with her legs spread exposing her
                  genitals. An adult female is also lying on the floor and appears to be
                  performing on oral sex on the preteen female.

              ·   File titled aaaa boylove gay pedo preteen boy sex child porn 228.jpg,
                  which contains an image file depicting an naked preteen/ minor male on a bed
                  exposing his genitals and anus.

              ·   File titled 9yo Jenny nude with legs spread wide apart showing pussy -
                  underage lolita r@ygold pthc ptsc ddogprn pedo young child sex preteen
                  hussyfan kiddie kiddy porn(1).jpg, which contains an image file depicting a
                  naked preteen female who is tied to a bed exposing her genitals.

              ·   File titled Imgsrc Ru Pthc Pedo Babyshivid Childlover Private Daughter
                  Torpedo Ranchi Lolita - Family Moments (68).jpg, which contains an
                  image file depicting two naked preteen females, two naked adult females, and
                  one naked preteen male. The two adult females are touching the naked preteen
                  male's penis while the two naked preteen females watch.

              ·   File titled pictures from ranchi torpedo dloaded in 2009- pedo kdv kidzilla
                  pthc toddlers 0yo 1yo 2yo 3yo 4yo 5yo 6yo 9yo tara babyj (156).jpg, which


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                    contains an image file depicting an adult female sitting in a chair and exposing
                    her one of her breasts. A preteen female is standing next to the chair and has
                    her mouth on the exposed breast of the adult female. The adult female also
                    appears to have a toddler sitting in her lap.

                ·   File titled pictures from ranchi torpedo dloaded in 2009- pedo kdv kidzilla
                    pthc toddlers 0yo 1yo 2yo 3yo 4yo 5yo 6yo 9yo tara babyj (51).jpg, which
                    contains an image file depicting a naked preteen female standing in a bathtub.

                ·   File titled PTHC Pedo NEW Childporn Private Daughter Torpedo Ranchi
                    Lolita - Melinda_719.jpg, which contains an image file depicting a naked
                    adult male sitting with a naked toddler. The toddler is touching the adult
                    male's erect penis while the adult male is touching / covering the toddler’s
                    genitals with his hand.

         Law enforcement determined that the IP Address was assigned to Comcast Internet

  Services. On January 9, 2011, law enforcement received subpoenaed business records from

  Comcast Internet Services which showed that on December 17, 2011, the IP Address,

  75.74.155.54, was assigned to Defendant Francisco CUBERO (hereinafter, “CUBERO”), at 255

  N.W. 45th Avenue, Miami, Florida 33126. A Florida Department of Motor Vehicles inquiry for

  CUBERO revealed his address to be the same location, 255 N.W. 45th Avenue, Miami, Florida

  33126 (the “Residence”).

     •   Surveillance Conducted of the Residence

         On January 9, 2011, law enforcement conducted surveillance of the Residence.             A

  wireless Internet network scan of a portion of the property surrounding the Residence revealed

  only one (1) secured wireless network. An additional wireless Internet network scan conducted

  from the driveway of the Residence revealed no wireless networks. Law enforcement observed

  that the Residence is a two family residence duplex.

         A Miami-Dade Property Tax inquiry revealed that the Residence is listed as a two family

  residence duplex owned by Vicente Cubero, the defendant’s uncle and relative.




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         In early January 2012, law enforcement conducted surveillance of the Residence and

  observed a black G.M.C. parked at the residence. Investigation revealed the Black G.M.C. is

  registered to an employer of CUBERO. On January 17, 2012, federal law enforcement, assisted

  by the City of Miami Police Department conducted a 911 emergency phone call ruse at the

  Residence. City of Miami Police Department Officers who responded to the ruse stated they

  encountered CUBERO alone at the Residence, and that CUBERO confirmed that the Black

  G.M.C. belonged to him.

     •   Search Warrant Executed at the Residence

         On January 19, 2012, law enforcement executed an authorized federal search at the

  Residence, and seized multiple electronic media from the Residence, including a HP Laptop

  computer and multiple CD-ROMs. A preliminary forensic examination of the HP Laptop

  computer revealed peer to peer software and files of suspected child pornography in the Saved

  folder of the Frostwire peer to peer program.     The preliminary forensic examination also

  revealed thirteen (13) of the aforementioned seventeen (17) image files of suspected child

  pornography which had been downloaded by law enforcement on December 17, 2011, from the

  user of IP address 75.74.155.54. These thirteen (13) image files were located in the Frostwire

  Saved folder, in addition to multiple files of suspected child pornography, including the

  following:

                       File titled Raamat 1yo Pedo qqaazz 3Yo Se1 (Ptsc).jpg, which contained
                        an image of an infant holding an adult male penis;

                       File titled Qqaazz Pthc Pedo Dad Puts 5 Inches Into Toddler Boy Ass
                        02 (1).jpg, which contains an adult male penis touching the anus of a
                        naked male infant; and

                       File titled qqaazz pthc pedo dad puts 5 inches into toddler boy ass
                        08(1).jpg, which contains an image of an adult male penis ejaculating on
                        the genitals of a male infant.


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         In addition, on January 24, 2012, SA Tim Devine looked at one of the CDs seized. The

  CD was titled “Big CD VI/ Pics.”           CUBERO, in a post-Miranda statement on 01/19/12

  (referenced below), stated the aforementioned CD-Rom contained child pornography.              The

  preliminary forensic examination revealed approximately two-hundred (200) files of suspected

  child pornography, including seventeen (17) movie files of suspected child pornography and the

  files described below:

                    •      File titled K@ty PTHC First-31.jpg which contains an image file
                           depicting a naked preteen female straddling a naked adult male. It appears
                           the male has ejaculated on his leg.

                    •      File titled Naughty Little Pretty Girls preteen ptn pthc ptsc
                           LSM0037.jpg which contains an image file depicting a naked preteen
                           female with her arms and legs tied to a bed. Her legs are spread, her
                           genitals are exposed, and she has a gag-ball strapped into her mouth. The
                           naked preteen female has writing on her stomach stating “Lick me please”
                           with arrow pointing to her vagina.

     •   Post-Miranda Confession by CUBERO

         CUBERO was arrested based on the images and videos found on the HP Laptop. After

  his arrest, also on January 19, 2012, law enforcement interviewed CUBERO. Prior to the

  interview, CUBERO was advised of Miranda rights, which he stated he understood. He waived

  his Miranda rights both verbally and in writing.          CUBERO stated he has resided at the

  Residence for approximately four (4) years. CUBERO stated he utilized the HP laptop computer

  and peer to peer software to download and view child pornography. CUBERO stated he utilized

  the search term “PTHC” to search for files on the peer to peer network and knew the term

  “PTHC” is associated with child pornography. CUBERO identified a CD-Rom seized from the

  Residence as containing files of child pornography.




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         Law enforcement seized a small amount of cocaine during the search of the Residence,

  and CUBERO admitted to having a “serious” cocaine addiction. He told law enforcement that

  when he gets high on cocaine, he has trouble getting an erection. To pleasure himself, he

  watches child pornography. The defendant stated that he never had to the urge to commit a

  hands-on offense.

                                PROCEDURAL BACKGROUND

         On February 2, 2012, a federal grand jury sitting in the Southern District of Florida

  indicted the Defendant, Francisco CUBERO, on two counts of possession of child pornography

  (i.e., one for each media – the laptop computer and the CD) (Counts 2-3) and one count of

  distribution of child pornography (Count 1). On March 13, 2012, a discovery conference was

  held in this case, whereby defense counsel previewed the child pornography files at issue here

  (along with other items found on the Defendant’s computer). Prior to the discovery conference,

  the undersigned AUSA informed defense counsel that, if the defendant wanted, a psychologist or

  other specialist could also be present to view the images and video files. The psychologist did

  not attend the discovery conference.

         After the discovery conference, the psychologist attempted to contact the case agent,

  Special Agent Timothy Devine (HSI), but to get his input regarding the images – not to view

  them. The case agent informed her, and defense counsel, that the images speak for themselves.

  Defense counsel was provided with a forensic report regarding the total images and video files

  found on CUBERO’s computer and CD.

         On May 10, 2012, the Defendant pled guilty to all of the charges in the Indictment.

  There is no plea agreement in this case. The Defendant signed a factual proffer (see D.E. 27).

  The Defendant was psychologically evaluated by Dr. Amy C. Swam. Dr. Swam did not review



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  the images or video files at issue in this case. Nor did she or defense counsel request for her to

  do so. A hardcopy of Dr. Swam’s report was received by the undersigned AUSA on July 18,

  2012. As explained above, the Defendant has filed objections to the PSI, as well as a sentencing

  memorandum requesting a downward variance from the sentencing guideline range.

                                            ARGUMENTS

     I.      THE PSI PROPERLY CALCULATES THE SENTENCING GUIDELINE
             RANGE.

          The Defendant argues that the PSI improperly calculated his sentencing guideline range

  because (a) there was a two-level increase pursuant to Section 2G2.2(b)(3)(F) for distribution of

  child pornography, which, according to the Defendant, should not apply because he did not

  intend to disseminate child pornography and is also tantamount to double-counting, and (b) a

  two-level decrease pursuant to Section 2G2.2(b)(1) should be applied because the Defendant did

  not distribute child pornography. The Defendant is incorrect. For the reasons explained below,

  the PSI has properly calculated the total offense level.

                 A. The Defendant’s Objection to the Two-Level Increase Pursuant to
                    § 2G2.2(b)(3)(F).

          First, CUBERO’s challenge to the two-level distribution enhancement is factually and

  legally unsupported.     The guideline for child pornography offenses calls for a two-level

  sentencing enhancement if the defendant used a computer. U.S.S.G. § 2G2.2(b)(6). It also

  provides for another two-level increase if the defendant distributed child pornography. U.S.S.G.

  § 2G2.2(b)(3)(F). The application notes define “distribution” as:

                 any act, including possession with intent to distribute, production,
                 transmission, advertisement, and transportation, related to the
                 transfer of material involving the sexual exploitation of a minor.
                 Accordingly, distribution includes posting material involving the
                 sexual exploitation of a minor on a website for public viewing but



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                 does not include the mere solicitation of such material by a
                 defendant.

   U.S.S.G. § 2G2.2, comment. (n.1).

          The Eleventh Circuit has held that “[b]y doing nothing to protect the [downloaded child

   pornography] images and allowing them to remain in a shared folder, [a defendant] distributed

   the images within the meaning of Section 2G2.2(b)(3)(F).” See United States v. Nelson, 442

   Fed. Appx. at 498. Conversely, Section 2G2.2(b)(1) provides for a two-level reduction if the

   defendant only solicited, or sought to receive, child pornography. See U.S.S.G. § 2G2.2(b)(1).

          Here, the record shows that CUBERO admittedly used a file-sharing network to

   download child pornography, stored his files in a shared folder on the network, and allowed

   other users to access his files. Additionally, there was no evidence on the record that CUBERO

   was not aware of how the sharing program functioned or of the distribution that resulted from its

   function. Further, during his change of plea colloquy, and by and through his factual proffer,

   CUBERO admitted to the distributing child pornography. That is the heart of Count 1 of the

   Indictment.

          Moreover, the plain language of Section 2G2.2(b)(3)(F) and the commentary interpreting

   it also support the distribution enhancement.        Specifically, the application notes show that

   posting files on an internet site for public viewing warrants an enhancement, and information

   from the officer’s investigation suggested that CUBERO did that by loading, and using, various

   peer-to-peer file-sharing networks.   Nelson, 442 Fed. Appx. at 498. Moreover, while the

   Eleventh Circuit has not interpreted, in a published opinion, the scope of Section 2G2.2(b)(3)(F)

   as applied to a defendant who used a peer-to-peer file-sharing network, the Fourth and Seventh

   Circuits have affirmed application of the two-level enhancement where the defendant used a

   peer-to-peer file-sharing network to download child pornography. See United States v. Layton,


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   564 F.3d 330, 335 (4th Cir. 2009) (holding that use of a peer-to-peer file-sharing program

   constitutes distribution for the purposes of U.S.S.G. § 2G2.2(b)(3)(F)); United States v. Carani,

   492 F.3d 867, 875–76 (7th Cir. 2007) (affirming application of enhancement where defendant

   made child pornography files available through file-sharing program and knew other users were

   downloading the files); United States v. Shaffer, 472 F.3d 1219, 1223–24 (10th Cir. 2007)

   (holding that there was sufficient evidence of distribution pursuant to 18 U.S.C. § 2252A where

   the defendant freely allowed other users of a file-sharing network to access his files and

   “understood that file sharing was the very purpose” of the network).

          The Eighth Circuit has held more expansively that because the purpose of a file-sharing

   program is distribution, “[a]bsent concrete evidence of ignorance—evidence that is needed

   because ignorance is entirely counterintuitive—a fact-finder may reasonably infer that the

   defendant knowingly employed a file sharing program for its intended purpose.” United States

   v. Dodd, 598 F.3d 449, 452 (8th Cir.) (emphasis omitted), cert. denied, 130 S. Ct. 3533, (2010).

          Similarly, the Defendant’s double-counting argument is without merit. To be clear, the

   Eleventh Circuit has not addressed, in a published opinion, whether application of Section

   2G2.2(b)(3)(F), together with the distribution charge, constitutes impermissible double counting.

   Nevertheless, guideline sections are presumed to apply cumulatively where, as here, there is no

   contrary direction found in the guidelines. Nelson, 442 Fed. Appx. at 499; see also United States

   v. Carter, 2008 WL 3929344, 292 Fed. Appx. 16 (11th Cir. Aug. 27, 2008). Moreover, other

   circuit courts have rejected other “double counting” challenges, particularly where, as here,

   multiple images or multiple computers are seized. See United States v. McNerney, 636 F.3d

   772, 775, 780 (6th Cir. 2011) (double counting challenge to consideration of multiple, but

   identical, images rejected); United States v. Tenuto, 593 F.3d 695, 697 (7th Cir.), cert. denied,



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   130 S. Ct. 3427 (2010) (concluding that lower court did not rely on conduct that was necessary

   to satisfy an element of the defendant's conviction for transporting child pornography, and use

   the same conduct to enhance the defendant's guideline range for distribution). As such, applying

   the two-level increase pursuant to Section 2G2.2(b)(3)(F) is not tantamount to double-counting.

                   B. The Defendant’s Request for a Two-Level Decrease Pursuant to §
                      2G2.2(b)(1).

      The Defendant has requested a two-level decrease pursuant to Section 2G2.2(b)(1). That

   guideline states: “If (A) subsection (a)(2) applies; (B) the defendant’s conduct was limited to the

   receipt or solicitation of material involving the sexual exploitation of a minor; and (C) the

   defendant did not intend to traffic in, or distribute, such material, decrease by 2 levels.” For the

   reasons explained above, the Defendant did engage in distribution of child pornography.

   Therefore, he should not receive a two-level decrease pursuant to Section 2G2.2(b)(1).

      II.      IMPOSING A SENTENCE WITHIN THE ADVISORY GUIDELINE RANGE
               IS APPROPRIATE UNDER 18 U.S.C. § 3553(a).

            It is well-settled that a district court must still consult the Sentencing Guidelines Manual

   and consider the advisory sentencing guidelines range for an instant offense prior to rendering a

   sentence. United States v. Crawford, 407 F.3d 1174, 1178-79 (11th Cir. 2005). To properly

   calculate the sentencing guidelines range, the court must also consider departures – upwards or

   downwards – that may be warranted. United States v. Jordi, 418 F.3d 1212, 1215 (11th Cir.

   2005) (“the application of the guidelines is not complete until the departures, if any, that are

   warranted are appropriately considered.”); U.S.S.G. § 1B1.1(b).

            After properly calculating the sentencing guidelines range, a district court must next

   consider and balance the sentencing factors in 18 U.S.C. § 3553(a) to determine a “reasonable”

   sentence, which may be more or less severe than that provided for by the guidelines range.



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   United States v. Talley, 431 F.3d 784, 786 (11th Cir. 2005). The court need not discuss each of

   the 3553(a) factors in rendering a sentence, United States v. Scott, 426 F.3d 1324, 1329 (11th

   Cir. 2005), so long as the record reflects consideration of the factors in general, Nelson v. United

   States, 555 U.S. 350 (2009). 1

            Finally, in rendering a sentence, a district court must adequately explain the chosen

   sentence, including any deviation from the advisory sentencing guidelines range. See, e.g., Rita

   v. United States, 551 U.S. 338, 356-57 (2007); United States v. Pugh, 515 F.3d 1179, 1191 n.8

   (11th Cir. 2008); see also Irizarry v. United States, 553 U.S. 708, 714 (2008) (discussing the

   difference between a departure and a variance).

            Here, the advisory sentencing guideline range, as calculated in the PSI, per Section 2G2.2

   of the Sentencing Guidelines, is 151 to 188 months of imprisonment. Imposing a sentence

   within the advisory sentencing guideline range is appropriate under 18 U.S.C. § 3553(a).

            A. The Offense Conduct Warrants a Sentence Within The Guideline Range

            First, as part of the factors laid out in Section 3553(a), the Court is required to consider

   the nature and circumstances of the offense conduct – here, possession of child pornography, in

   violation of Title 18, United States Code, Section 2252(a)(4)(B). At the heart of this crime, and

   an important factor for sentencing purposes, is the type of child pornography that a defendant is

   looking at – i.e., the age of the children involved, the sexual acts depicted in the videos and

   images, the length of the videos, and so forth – not just the number of files a defendant has


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                     The following are the factors outlined in Section 3553(a): (i) The nature and circumstances of the
   offense and the history and characteristics of the defendant; (ii) The need for the sentence imposed – (1) to reflect
   the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense; (2) to
   afford adequate deterrence to criminal conduct; (3) to protect the public from further crimes of the defendant; and
   (4) to provide the defendant with needed educational or vocational training, medical care, or other correctional
   treatment in the most effective manner; (iii) The kinds of sentences available; (iv) The kinds of sentence and the
   sentencing range established for the instant offense by the Guidelines; and (v) Any pertinent policy statements issues
   by the United States Sentencing Commission. See 18 U.S.C. § 3553(a).


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   downloaded from the Internet.       Indeed, while the material involved in all cases of child

   pornography is disturbing, there are images and videos that are particularly graphic, heinous, and

   explicit.

           The Defendant downloaded, possessed, and distributed files that fall into such category.

   For example, one of the images that the Defendant downloaded and viewed depicted nude

   children under the age of twelve exposing their buttocks and lying in a pile of dirt and muck.

   Another depicts a naked female child under the age of twelve putting her mouth on the exposed

   breast of an adult female, who is holding a toddler child (i.e., under five years old) in her lap. As

   well, also downloaded and viewed was an image of a naked adult male sitting with a naked

   toddler child. The toddler child is touching the naked adult male’s erect penis while the adult

   male is touching/covering the toddler’s genitals with his hands. There were also images of

   infants (i.e., children under two years old) on the Defendant’s computer. One image is of an

   infant holding an adult male’s erect penis. Another depicted an adult male’s erect penis touching

   the anus of a naked male infant.

           In addition to the still images that the Defendant downloaded and viewed, there were

   numerous video files on his computer. Similar to the images, some of the video files are

   extremely disturbing. For example, there are several video files from the “Vicky” series. One

   depicts “Vicky” (then, eight years old), dressed up as a stripper and dancing provocatively as an

   adult male instructs her to strip naked. After she strips naked, the clip shows the adult male

   engaged in anal and vaginal sex with “Vicky” and ejaculating into her mouth. Another video

   shows “Vicky” engaged in oral sex with a dog at the instruction of the same adult male.

           Even in the world of child pornography, the child pornography files that the Defendant

   possessed are considered extreme in nature. One of the reasons for that is the deep impact that



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   sexual abuse has on such young children – that is, prepubescent children. Indeed, among other

   harms, infants and toddlers are at an increased risk for genital injury and harm to reproductive

   organs both from direct trauma, and remote infections to which they have minimal immunity.

   (See Affidavit of Sharon W. Cooper, Developmental and Forensic Pediatrics, P.A., attached as

   Attachment A.) Moreover, preschool and elementary school aged victims have an increased risk

   for sexualized behaviors, dissolution of appropriate boundaries, and re-victimization. (Id.)

          In addition, the manner in which the Defendant saved and stored some of the child

   pornography files he downloaded is of concern. The Defendant did not simply download the

   files and keep them on his computer to peruse at leisure. Rather, he took an extra step to retain

   some files he downloaded and viewed by burning those files onto a CD. He kept these files as

   part of his personal collection, and knew precisely what type of material he was retaining. In

   fact, CUBERO identified the CD containing child pornography to law enforcement officers as

   they conducted a search of his Residence for all media containing child pornography.

          B. The Need for a Sentence Within the Guideline Range

          In determining a sentence, the Court is also required to consider the need for the sentence

   imposed, including the seriousness of the offense, the need for specific and general deterrence,

   the impact of the sentence on the defendant, and the impact of the sentence on the victims. Due

   to the graphic and extreme nature of the child pornography that the Defendant possessed, there is

   a grave need for the Court to impose a sentence within the advisory sentencing guideline range.

   Undoubtedly, the offense conduct is serious – and should be treated that way.

          With respect to general deterrence, a primary purpose of child pornography legislation is

   to combat the consumption of, as well as the market for, child pornography. By imposing severe

   penalties on the individuals whose prurient demands fuel the market for violent and egregious



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   child pornography, the courts can begin to reduce the market for child pornography, and, as a

   result, reduce the number of children who are victimized by the production of child pornography.

   This is particularly true in cases where the victims are infants and toddler children.

           Moreover, though there is no evidence that the Defendant ever engaged in sexual contact

   with a minor, the Defendant unquestionably spent many hours seeking out and viewing videos

   that portrayed children engaging in sexual acts with adults and other children. There is a need

   for specific deterrence in this case, where the Defendant clearly spent time fantasizing about

   binding and raping very young children – and went so far as to burn some of the videos he

   downloaded onto a CD for long-term retention. The Defendant also admitted to viewing child

   pornography while “high” on cocaine, partly because it provided him with the additional

   stimulus to get aroused. CUBERO even admitted that he finds 13 to 17 year old girls to be the

   most sexually arousing. The Defendant’s conduct and fascination with child pornography – and,

   particularly, young children, bondage, and bestiality – is indicative of the powerful urges he

   feels, and raises serious concerns about the need to incapacitate him before he acts out his

   fantasies.

           Also, of importance, on CUBERO’s computer, law enforcement found several personal

   photographs taken by the Defendant that were alarming. These images were shown to defense

   counsel, Manuel Gonzalez, at the discovery conference in the presence of the forensic examiners

   and the undersigned AUSA. First, several images depicted CUBERO using a firearm to point at

   various women while he engaged in sexual intercourse with them. Although none of the women

   appeared to be sedated or forced into the sexual acts, the photographs were graphic and

   disturbing in nature.    Additionally, a couple of photographs depicted an adult male, later

   identified as a relative of CUBERO, jesting at a young woman, who lay naked on the floor of a



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   bathroom shower. In the photograph, the woman did not appear to be conscious and looked

   younger than eighteen years old. For these reasons, law enforcement took steps to identify the

   woman, a high school senior, and contact her. She was interviewed. She stated that she did not

   recall any such photograph being taken of her. However, she also stated that, based on the date

   that the photograph was taken, she had turned eighteen years old one month prior.

          Finally, the public and the victims of child pornography have a strong interest in

   punishing the Defendant for this serious crime – a crime that causes actual injury to the innocent

   and young victims whose most traumatic moments the Defendant and others like him transform

   into objects of pleasure and fantasy.

          Over two decades ago, the Supreme Court, in New York v. Ferber, 458 U.S. 747 (1982),

   discussed the very real harm that the distribution of child pornography causes its victims:

          The distribution of photographs and films depicting sexual activity by juveniles is
          intrinsically related to the sexual abuse of children . . . . .[T]he materials produced
          are a permanent record of the children’s participation and the harm to the child is
          exacerbated by their circulation . . . .[P]ornography poses an even greater threat to
          the child victim than does sexual abuse or prostitution. Because the child's actions
          are reduced to a recording, the pornography may haunt him in future years, long
          after the original misdeed took place. A child who has posed for a camera must go
          through life knowing that the recording is circulating within the mass distribution
          system for child pornography.

   Id. at 759-60 and n.10 (internal citations omitted).

          Ferber was decided before the advent of digital cameras, long before gigabytes of

   information could be stored on a hard drive or a thumb drive, and before every household in

   America had a computer connected to the Internet. When Ferber was decided, a producer of

   child pornography needed photographic equipment, access to a darkroom, and/or video

   equipment to ply his trade. Against this backdrop, the Supreme Court’s observations regarding

   the harm caused by the distribution of child pornography ring even more true today, when the



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   images of innocent victims are easily and instantaneously transferred from one living room to

   another at the click of a button. The interest of the victims, infant and toddler children, in a

   sentence that reflects the seriousness of child pornography offenses cannot be overstated. (See

   Attachment B: Redacted Victim Impact Statement from “Vicky”.) These interests are not served

   by a downward variance to the advisory sentencing guideline range in this case.

      III.      A DOWNWARD VARIANCE IS NOT WARRANTED IN THIS CASE.

             As this Court is aware, with the advent of the sentencing guidelines being presumptively

   reasonable, but not mandatory, there are child pornography cases where the United States has

   either agreed to a downward variance or has not appealed an adverse sentence. While there are

   likely several cases that fall into these categories, particularly the latter, in the Southern District

   of Florida, the undersigned Assistant United States Attorney personally knows of only one child

   pornography case where the United States has agreed to a downward variance – United States v.

   Carlo DeMarco (10-20261-CR-MOORE) – and of only two child pornography cases where the

   United States has not appealed a downward variance imposed – United States v. Christopher

   Riley, 655 F.Supp.2d 1298 (S.D. Fl. 2009), and United States v. Carlos Ramirez (11-20551-CR-

   SEITZ). Those cases can easily be distinguished from the facts here.

             First, to be clear, the United States does not routinely agree to variances in child

   pornography cases.       In fact, the opposite is true.     Indeed, only in cases of extenuating

   circumstances will a downward variance even be requested or agreed to by the United States

   Attorney’s Office. The DeMarco case was one of such circumstances and an outlier in many

   respects.

             By way of background, Carlos DeMarco was charged with two counts of possession of

   child pornography and two counts of distribution of child pornography. He pled guilty to one



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   count of distribution of child pornography, which carries a mandatory minimum sentence of five

   (5) years imprisonment.      Due to the content and quantity of child pornography files that

   DeMarco possessed and distributed, he faced a sentencing guideline range of 151-188 months

   imprisonment (after acceptance and with a criminal history category I).        He argued for a

   downward variance to the mandatory minimum sentence based upon his age, lack of a prior

   criminal record, susceptibility to abuse in prison, mental capacity, and history of childhood

   sexual and physical abuse.

          On September 27, 2011, this Court held a sentencing hearing in the DeMarco case. The

   prosecutor requested a continuance of the sentencing hearing in light of the evidence presented

   by DeMarco. Notably, a review of the transcript suggests that, at that hearing, DeMarco’s

   biological mother, Elsy Turriago, testified that she physically, verbally, and emotionally abused

   DeMarco throughout his childhood. In addition, she testified that DeMarco’s stepfather sexually

   abused him from the age of seven to nine and that, due to financial and emotional weakness on

   her part, she did nothing to stop the abuse. Although DeMarco begged for her help, she testified

   that she allowed the abuse of him to continue.

          Moreover, a psychological evaluation stated that DeMarco, who was already an introvert,

   became a loner and socially awkward due to the various childhood abuses suffered. He also

   struggled with Asperger’s disorder, which was never addressed or treated by his family.

   DeMarco, thirty-five years old at the time of sentencing, had no prior criminal history and,

   despite his childhood, had managed to obtain three Associate of Science degrees, and gain full-

   time employment.

          On October 6, 2011, the Court revisited sentencing for DeMarco. The United States

   agreed to the defense’s request for a downward variance – from 151 months (the low-end of the



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   advisory sentencing guideline range) to sixty (60) months (the mandatory minimum sentence).

   The United States’s decision to agree to a downward variance was made after a careful review

   and confirmation of the facts regarding DeMarco.            As counsel for DeMarco stated in a

   Sentencing Memorandum, “a great number of defendants … have some species of psychological

   disorder … Carlo DeMarco’s history and characteristics however are unique.” (D.E. 76, pp. 5-

   6) (emphasis added).

          Indeed, the unique factual history and characteristics present in the DeMarco case are

   distinguishable from other child pornography cases, including the one before the Court. Here,

   while the Defendant is relatively young, that is, thirty (30) years old, he is the product of a

   supportive and loving family and tremendous life opportunities. Though he does not personally

   know his biological father, and suffered trauma from his grandmother’s death, the record

   suggests that his mother, stepfather, and siblings have loved – and continue to love – CUBERO

   unconditionally. Further, CUBERO has had normal social and romantic relationships with

   women, as attested to by the letter filed by Grace Moller (his former girlfriend), and the many

   photographs found on his computer of him with friends. As well, the Defendant reported no

   history of any social interaction or relationship issues.

          Furthermore, although DeMarco had over 600 images of child pornography in his

   possession, none of those images depicted infants or toddler children – or torture and bestiality

   for that matter. The very nature of the material involved in this case is vastly different from that

   which DeMarco possessed and distributed. To analogize the two cases simply because they

   involve child pornography would be to diminish the harm and pain caused to the infants and

   toddler children abused in the videos that the Defendant concedes to have saved and viewed.




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          With respect to child pornography cases where the United States did not appeal the

   imposition of a downward variance, it is important to first note that the decision to appeal an

   adverse sentence ultimately rests with the Solicitor General, not the prosecutor on the case. As

   the Supreme Court stated in United States v. Mendoza, 464 U.S. 154 (1984), unlike a “private

   litigant who generally does not forego an appeal if he believes that he can prevail, the Solicitor

   General considers a variety of factors, such as limited resources of the government and the

   crowded dockets of the courts, before authorizing an appeal … The application of nonmutual

   estoppel against the government would force the Solicitor General to abandon those prudential

   concerns and to appeal every adverse decision in order to avoid foreclosing further review.” Id.

   at 161 (internal citation omitted).

          Further, the lack of an appeal to an adverse sentence is not synonymous with the United

   States agreeing to that sentence. Rather, the United States recognizes that, post-Booker, district

   court judges are granted broad discretion in imposing sentences – including the discretion to

   impose sentences based on a policy disagreement with the sentencing guidelines (see Vasquez v.

   United States of America, Brief for the United States of America, No. 09-5370, 2009 WL

   5423020, at *14-15 (Nov. 16, 2009)). Indeed, since the Supreme Court’s Booker decision, it has

   been “pellucidly clear that the familiar abuse-of-discretion standard of review now applies to

   appellate review of sentencing decisions.” Gall v. United States, 552 U.S. 38, 46 (2007); see

   also Pugh, 515 F.3d at 1191 (explaining that the Supreme Court's teachings “leave no doubt that

   an appellate court may still overturn a substantively unreasonable sentence, albeit only after

   examining it through the prism of abuse of discretion, and that appellate review has not been

   extinguished”). That familiar standard “allows a range of choice for the district court, so long as




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   that choice does not constitute a clear error of judgment.” United States v. Frazier, 387 F.3d

   1244, 1259 (11th Cir. 2004) (en banc) (internal citation omitted).

          As the Eleventh Circuit has explained, “under the abuse of discretion standard of review

   there will be occasions in which we affirm the district court even though we would have gone the

   other way had it been our call. That is how an abuse of discretion standard differs from a de novo

   standard of review.” Id. (quoting Rasbury, 24 F.3d at 168); see also, e.g., Ledford v. Peeples,

   605 F.3d 871, 922 (11th Cir. 2010) (“[T]he relevant question [when reviewing for abuse of

   discretion] is not whether we would have come to the same decision if deciding the issue in the

   first instance. The relevant inquiry, rather, is whether the district court's decision was tenable, or,

   we might say, ‘in the ballpark’ of permissible outcomes.”). Therefore, the United States must

   show that a federal sentence is unreasonable in light of both record and statutory factors in order

   to prevail on appeal. See, e.g., United States v. Irey, 612 F.3d 1160 (11th Cir. 2010); United

   States v. McBride, 511 F.3d 1293 (11th Cir. 2007).

          Moreover, it is important to note that in cases where an adverse sentence has been

   imposed, at the time of sentencing, the United States opposed the defendant’s request for a

   downward variance. For example, in Riley and Ramirez, the prosecutors’ position was very

   clearly stated that their recommendation was a sentence within the advisory sentencing guideline

   range. Given the specific facts of each case, however, the courts chose to vary downward.

   Notably, as discussed below, the facts of those cases are not analogous here and, they should

   have no bearing on the sentence imposed by this Court.

          In Riley, the defendant, a twenty-four (24) year old male with a high school education,

   entered an online chat room and initiated an instant message with a person he believed to be the

   mother of a ten year old girl. The person was actually an undercover FBI agent. During



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   conversation, the defendant expressed interest in engaging in sexual activity with the agent and

   young girl, and requested pictures of the daughter as part of a trade. The agent sent the

   defendant four images of child pornography, two of which depicted children under five (5) years

   of age. After making contact with the defendant, law enforcement discovered 900 images and

   ten (10) videos of child pornography on the defendant’s computer. The defendant was married at

   the time of his arrest and came from a loving and supportive home. He had a stable job as an

   inventory manager at Wal-Mart until his arrest in that case. A psychological evaluation done of

   the defendant indicated that he had childhood traumas, but posed little threat of reoffending.

          Christopher Riley ultimately pled guilty to one count of transportation of child

   pornography, and the advisory sentencing guideline range was 210-260 months. The statutory

   maximum was 240 months. The district court varied downward to 60 months, the mandatory

   minimum.

          Though the facts involved in the Riley case are egregious, and the United States’s

   recommendation for a sentence at the high-end of the sentencing guideline range was overruled,

   it is important to note that there, the Honorable Judge King relied upon a paper published by

   Assistant Federal Public Defender Troy Stabenow, entitled “Deconstructing the Myth of Careful

   Study: A Primer on the Flawed Progression of the Child Pornography Guidelines” (hereinafter,

   the “Stabenow Report”), in rendering his decision. The Stabenow Report analogized the crack

   cocaine sentencing guidelines, criticized by the Supreme Court in Kimbrough v. United States,

   128 S. Ct. 558 (2007), to the child pornography sentencing guidelines. The Stabenow Report is

   inaccurate, however, and its conclusions are not supported by Eleventh Circuit law, or other

   district courts in the Southern District of Florida. To the extent that the Court wants to rely on

   the rationale in the Stabenow Report, the United States believes that it is inappropriate.



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          To be clear, in Kimbrough, the Supreme Court ruled that district courts could reject the

   crack cocaine guidelines because of the combination of (1) Congress’ silence with regard to the

   crack/powder disparity, see Kimbrough, 128 S.Ct. at 571, and (2) the United States Sentencing

   Commission’s failure to fulfill its characteristic institutional role, see id. at 574-75.      But

   Kimbrough does not stand for the proposition that Congress should have no role in shaping

   sentencing policy. To the contrary, noting that “Congress has shown that it knows how to direct

   sentencing practices in express terms,” id., the Court was persuaded by Congress’ failure to

   weigh in on the crack/cocaine controversy.

          In contrast to the crack guideline at issue in Kimbrough, the child pornography guideline

   at issue here is the product of both the Commission’s empirical analysis and congressional

   directives.   Thus, the salient features of Kimbrough are not present here, and there is no

   justification for a wholesale rejection of Section 2G2.2. Indeed, in United States v. Pugh, supra,

   the Eleventh Circuit considered Kimbrough’s directives in the context of Section 2G2.2 and

   flatly rejected the notion that courts could simply disregard that section:

          The Supreme Court has recently held that a district judge has the authority to
          deviate from the Guidelines in a particular crack cocaine case because the
          Guidelines range for these offenses was based on “the mandatory minimum
          sentences set in the 1986 Act, and did not take account of ‘empirical data and
          national experience.’” Kimbrough, 128 S.Ct. at 575 (citation omitted). The
          Guidelines involved in Pugh’s case, however, do not exhibit the deficiencies the
          Supreme Court identified in Kimbrough. First, the Guidelines range is derived at
          least in part from the early Parole Guidelines, rather than directly derived from
          Congressional mandate. See, e.g., Revised Draft Sentencing Guidelines 72
          (Jan.1987) (“The serious nature of th[e] offense [of transporting, receiving, or
          trafficking in material involving the sexual exploitation of a minor] is reflected in
          the enhancement for the distribution of material depicting minors under age
          twelve. The amount of enhancement reflects the time specified by the parole
          guidelines.”). Second, there is no indication that either the Guidelines range or
          the policy statement involved in Pugh’s sentence suffers from any criticisms like
          those Kimbrough identified for the crack cocaine Guidelines. There, the Supreme
          Court found that the Sentencing Commission itself had “reported that the
          crack/powder disparity produces disproportionately harsh sanctions.” Kimbrough,


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          128 S.Ct. at 575. Here, the Sentencing Commission has not made any similar
          statements; rather, the Guidelines and policy statement are based in part upon
          Congress’s longstanding concern for recidivism in such cases[.]

   Id. at 1201 n.15.

          Furthermore, several district court judges in the Southern District of Florida have

   concluded that the Stabenow Report is inaccurate, faulty, and unreliable.       For example, in

   United States v. Ricardo Maciel (10-20686-CR-JORDAN), and United States v. Jonathan

   Quintana (10-20696-CR-GOLD), the courts disagreed with defense counsels’ arguments the

   Stabenow Report supported a downward variance and, instead, flatly dismissed its accuracy.

   Instead, the Honorable Judge Jordan imposed a 144-month sentence upon Maciel and the

   Honorable Judge Gold imposed an 84-month sentence upon Quintana.              Both Maciel and

   Quintana were first-time offenders who pled guilty to distributing and possessing child

   pornography. Essentially, cases those were factually similar to that at hand. See also United

   States v. Guillermo D. Martinez, 11-20718-CR-MOORE (on March 15, 2012, the defendant, a

   first-time offender who pled guilty to possession of child pornography, was sentenced to serve a

   term of imprisonment of 78 months).

          For these reasons, the Riley case is not analogous to the situation here and should not be

   considered by the Court in imposing sentence upon the Defendant. Similarly, the Ramirez case

   is not analogous.   In that case, the undersigned Assistant United States Attorney was the

   prosecutor. There, the defendant, who pled guilty to transportation of child pornography, faced a

   sentencing guideline range of 121-151 months of imprisonment. The United States argued for a

   sentence at the low-end of that range. The defendant requested a downward variance, citing to

   Riley. This Court imposed a sixty (60) month sentence, the mandatory minimum, explaining

   that the defendant had only been charged with transportation because, during his move from



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   North Carolina to Miami to seek employment and be with family, he had, among his personal

   belongings, two (2) CDs and a thumb drive that contained images of child pornography. The

   court noted that, had the defendant been charged with possession of child pornography, the

   advisory sentencing guideline range would have been much lower.

          In addition, the defendant, Carlos Ramirez, thirty-two (32) years old, had been

   psychologically evaluated and, though the report was not finalized, the evaluation indicated that

   the defendant struggled with his sexual identity, was a loner, socially inept, had a low

   comprehension level, and had no indicators that he was likely to hands-on offend. Notably, the

   psychologist who did the evaluation attended the discovery conference and viewed all of the

   images and video files found on the defendant’s computer, thumb drives, and CDs. The images

   and video files that the defendant had in his possession were mostly of ten to sixteen year old

   boys, posing naked and engaged in sexual conduct with other young boys. The defendant stated

   that he viewed the child pornography files out of “curiosity” and because he struggled with his

   own sexual identity.    The type of images that the defendant was charged with possessing

   supported that assertion.

          Clearly, the facts of the Ramirez case differ from the Defendant’s. The Defendant is not

   a young man struggling with his sexual identity, nor is he viewing sexual images of others that

   are even arguably in his peer group. Rather, the Defendant is a thirty (30) year old male who

   was viewing, and saving, videos of infants and toddler children being tortured and pained by

   adults. The downward variance in the Ramirez case should have no bearing on this Court’s

   consideration in imposing sentencing on the Defendant.




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                                          CONCLUSION

          For the foregoing reasons, the United States respectfully requests that the Court sentence

   the Defendant to a term of imprisonment of 151 months followed by a life-time term of

   supervised release.

                                               Respectfully submitted,


                                               WIFREDO A. FERRER
                                               UNITED STATES ATTORNEY

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on July 31, 2012, I filed the foregoing with the Clerk of the

   Court using CM/ECF. A copy of the foregoing was delivered to counsel for the defendant,

   Manuel Gonzalez, via email.


                                                        s/ Vanessa S. Johannes
                                                       Vanessa Singh Johannes
                                                       Assistant United States Attorney




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